92 F.3d 1179
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.David A. KINDER, Plaintiff-Appellant,v.Charles POTTS, Dr.;  Prison Health Services, Incorporated;Jean Snyder;  Ronald G. Nelson;  Sharon Alden;  RebeccaEichelberger, R.N.;  P.A. Kaushner;  Richard A. Lanham,Commissioner;  Ronald Moats, Warden;  Arnold Tichnell,Lieutenant, Co IV;  Marvin Carbaugh, Sergeant, Co III,Defendants-Appellees.
    No. 96-6177.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 23, 1996.Decided July 30, 1996.
    
      David A. Kinder, Appellant Pro Se.
      Deborah Maude Peyton, MASON, KETTERMAN &amp; MORGAN, Baltimore, Maryland;  Joseph Barry Chazen, MEYERS, BILLINGSLEY, SHIPLEY, RODBELL &amp; ROSENBAUM, Riverdale, Maryland;  Richard M. Kastendieck, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, Baltimore, Maryland, for Appellees.
      Before WIDENER, NIEMEYER, and MICHAEL, Circuit Judges.
    
    PER CURIAM
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   Kinder v. Potts, No. CA-95-2364-PJM (D.Md. Jan. 25, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    